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                                 UNITED STATES DISTRICT COURT
                                                            for the
                                         District of Colorado
                     United States of America          )
                                v.                     )
                                                       )
                  Mohammed Sabry SOLIMAN               )      Case No.                    25-MJ-0108-NRN
                                                       )
                         Defendant(s)                  )


                                            CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief:
  On or about June 1, 2025, in the county of Boulder in the State and District of Colorado, the defendant violated:

                  Code Section                                               Offense Description


         18 U.S.C. § 249(a)(1), (2)                                Hate crime involving actual or perceived race, religion, or
                                                                   national origin




         This criminal complaint is based on these facts:
         See Affidavit attached hereto and herein incorporated by reference.


         X Continued on attached sheet.

                                                                      s/ SA Jessica Krueger_____
                                                                                      Complainant’s signature

                                                                      FBI SA Jessica Krueger___
                                                                                     Printed name and title

Sworn to before me and:      signed in my presence.
                          xx submitted, attested to, and acknowledged by reliable electronic means.

Date:
        06/01/2025
                                                                                          Judge’s signature

City and state:
                                                                           Magistrate Judge N. Reid Neureiter
                                                                                        Printed name and title
